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BRIDGET HANSON, gm l f iiti.Mb
Plaintiff,

vs, No. 05-2355 Ma/V

JURY DEMANDED
MODERN MILLY, INC. d/'b/a ELLA,

Defendant.

 

IBBPFFSE})] RULE l6(b) SCHEDULING ORDER

 

A scheduling conference Was held by and among counsel for the parties on August 17. 2005.
At the scheduling conference, the following dates Were established as the final dates for:
RULE 26(a)(l) lNlTIAL DISCLOSURE DEADLINE: September 16, 2005
JOlNING PARTlES: October 17, 2005
AMEND]NG PLEADINGS: October 17, 2005
lNlTlAL MOTIONS TO DlSl\/llSS: November 30, 2005
COMPLETING ALL DISCOVERY (except as hereinafter noted): April 28, 2006

(a) DOCUMENT PRODUCTION: Requests must be served in time for production to be
completed by April 28, 2006

(b) DEPOSITIONS, lNTERROGATORIES, AND REQUESTS FOR ADMISSIONS:
All requests and deposition notices must be served in time for responses to be served,
and depositions taken_, by April 28, 2006; maximum of fifteen (15) depositions per
party; each deposition is limited to five (5) hours; the maximum number of
lnterrogatories to issue to any other party is twenty-five (25)

(@) EXPERT werEss DIscLosuRE (Fed. R. Civ. P_ 26);

( I) D]SCLOSURE OF PLAIN"[`IFFS’ RULE 26 EXPERT

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lNFORl\/lATlON: February 28, 2006

(2) DlSCLOSURE OF DEFENDANT’S RULE 26 EXPERT
lNFORl\/IATION: March 28, 2006

(3) Expert depositions must be completed by April 28, 2006.
l"ILING DISPOSITIVE MOTIONS: l\/lotions must be filed by May 31, 2006.
OTHER R_ELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other iilings that require a response must be filed sufficiently in advance
of the discovery cutoff date to enable opposing counsel to respond by the time permitted by the Rules
prior to that date.

Motions to compel discovery are to be _liled and served by the discovery deadline or within 30
days of the default of the service of the response, answer, or objection, which is the subject of the
motion, if the default occurs Within 30 days of the discovery deadline, unless the time for filing of
such motion is extended for good cause shown, or the objection to the defau]t, response, answer, or
objection shall be Waived.

The case is set for a jury trial, and the trial is expected to last approximately two (2) days.
'f he pretrial order date, pretrial conference date, and trial date will be set by the presiding judge.

This case is appropriate for ADR. The parties may be directed to engage in court-annexed
attorney mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to local Rule l l(a)(l )(A), all motions, except motions
pursuant to Fed. R. Civ. P. l2, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party may

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file an additional reply, h.owever, Without leave of the court lf a party believes that a reply is
necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting forth
the reasons for which a reply is required.

The parties have not consented to trial before the magistrate judge.

Tliis order has been entered after consultation with trial counsel pursuant to notice. Abseiit

good cause shown, the scheduling dates set by this order will not be modified or extended

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

l'l` lS SO ORDERED.

 

DATE; ££//é/M/ /5,@7”0§

APPROVED:

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Davi E. Goodman, Jr. (Ten. Bar No 02]493)
, Porter & Johnson, PLLC

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Attorneys for Plaintiff, Bridget Hanson

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Attorney for Defendant, l\/[odern l\/lilly, lnc.
d/b/a Ella

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02355 was distributed by fax, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

